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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

Sancilio Pharmaceuticals Company, Inc., et al.,1              Case No. 18-11333 (CSS)

                             Debtors.                         (Joint Administration Requested)



   MOTION FOR THE ENTRY OF INTERIM AND FINAL ORDERS (I) APPROVING
DEBTOR-IN-POSSESSION FINANCING PURSUANT TO 11 U.S.C. §§ 105(a), 362, AND
364 AND FED. R. BANKR. P. 2002, 4001 AND 9014 AND LOCAL BANKRUPTCY RULE
 4001-2; (II) AUTHORIZING USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C.
      §§ 105, 361, 362 AND 363 OF THE BANKRUPTCY CODE; (III) GRANTING
 ADEQUATE PROTECTION AND SUPER-PRIORITY ADMINISTRATIVE CLAIMS;
  (IV) SCHEDULING A FINAL HEARING; AND (V) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

hereby move the Court (this “Motion”), pursuant to sections 105(a), 361, 362, 363 and 364 of

title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules

2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and Rule 4001-2 of the Local Bankruptcy Rules for the District of Delaware (the “Local Rules”),

for entry of an interim order, substantially in the form attached hereto as Exhibit A (the “Interim

DIP Order”), and a final order (the “Final DIP Order” and, together with the Interim DIP Order,

the “DIP Orders”), providing:

    A. Authorization and approval for the Debtors to incur post-petition indebtedness (the “DIP
       Facility”), which includes (i) the aggregate principal amount of not more than $5,300,000
       in new borrowings (“DIP Loans”), of which the aggregate principal amount of not more
       than $1,000,000 will be available to the Debtors on an interim basis in weekly draws in
       accordance with the Budget and pursuant to the Interim DIP Order during the period from
       the Closing Date to the entry of the Final DIP Order; (ii) $265,000, constituting the DIP

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  The Debtors in these Chapter 11 Cases, along with the business addresses and the last four (4) digits of each
Debtor’s federal tax identification number, if applicable, are: Sancilio Pharmaceuticals Company, Inc., 2129 N.
Congress Avenue, Riviera Beach, FL 33404 (3353); Sancilio & Company, Inc., 2129 N. Congress Avenue, Riviera
Beach, FL 33404 (7166); Blue Palm Advertising Agency, LLC, 2129 N. Congress Avenue, Riviera Beach, FL
33404 (n/a).
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   Facility origination fee (the "Origination Fee"), which shall be approved by the Interim
   DIP Order, deemed fully earned on the date of entry of the Interim DIP Order, and paid
   from the proceeds of the first DIP Loan draw (the DIP Loans and Origination Fee
   approved pursuant to this Interim DIP Order constituting the “Interim DIP Facility”); and
   (iii) a DIP Facility termination fee equal to five percent (5%) of (a) the total aggregate
   maximum principal amount of all Applicable Commitments of all Credit Facilities
   (without giving effect to any reduction in or elimination of the Applicable Commitments
   upon the occurrence of a Default or DIP Event of Default), including the principal
   amounts of all undisbursed tranches, plus (b) all Protective Advances, which shall be
   approved by the Final DIP Order and deemed fully earned on the date of entry of the
   Final DIP Order and paid on the earliest to occur of (x) the Maturity Date, (y) the date of
   any full prepayment of the Credit Facilities (or, in the case of a mandatory full
   prepayment, on the date such mandatory prepayment becomes due and payable) or (z) the
   date on which the DIP Obligations become due and payable in full (the "Termination
   Fee"), all of which shall be on the terms and conditions set forth in (a) the Debtor in
   Possession Credit and Security Agreement dated as of June 5, 2018 (as may be amended
   from time to time, the “DIP Loan Agreement”) by and among the Debtors, as Borrowers,
   MidCap Funding XVIII Trust, as the DIP Agent (in such capacity, the “DIP Agent”), and
   MidCap Funding XVIII Trust and each of the other lenders from time to time party
   thereto (collectively, the “DIP Lenders”), and (b) all other financing statements,
   mortgages, deeds of trust, deeds to secure debt, pledge agreements, affidavits, security
   agreements, fixture filings, assignments, memoranda or other documents, instruments or
   evidences of perfection with respect to the DIP Collateral (as defined below) as may be
   acceptable to the DIP Agent and the Required DIP Lenders (together with the DIP Loan
   Agreement, the “DIP Loan Documents”);

B. Authorization, pursuant to section 364(c)(1) of the Bankruptcy Code, to grant to the DIP
   Agent, for the benefit of itself and the DIP Lenders, as security for the DIP Obligations
   (as defined below), an allowed Super-priority Claim in the Chapter 11 Cases, which
   Super-priority Claim is a super-priority, administrative expense claim that has priority
   over all other administrative expenses and other claims against the Debtors in the Chapter
   11 Cases, including, without limitation, any other super-priority claims;

C. Authorization, pursuant to section 364(c)(2) of the Bankruptcy Code, to grant to the DIP
   Agent, for the benefit of itself and the DIP Lenders, fully-perfected and enforceable
   senior, first priority liens on and security interests in DIP Collateral that is not subject to a
   Permitted Lien;

D. Effective upon entry of the Final DIP Order, authorization, pursuant to section 364(c)(2)
   of the Bankruptcy Code, to grant to the DIP Agent, for the benefit of itself and the DIP
   Lenders, fully-perfected and enforceable, senior, first-priority liens on and security
   interests in all proceeds of Avoidance Actions;

E. Authorization, pursuant to section 364(d) of the Bankruptcy Code, to grant to the DIP
   Agent, for the benefit of itself and the DIP Lenders, fully perfected, enforceable, first
   priority, priming DIP Liens (as defined below) on all DIP Collateral subject to a Lien as
   of the Petition Date, other than on DIP Collateral subject to a Permitted Lien, which DIP


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        Collateral shall be subject to fully perfected and enforceable junior priority DIP Liens
        granted to the DIP Agent, for the benefit of itself and the DIP Lenders, pursuant to
        section 364(c)(3) of the Bankruptcy;

    F. Authorization of the Debtors to use Cash Collateral (as defined below) in which the
       Prepetition Agent (as defined below) has an interest;

    G. Authorization to grant adequate protection to the Prepetition Agent for the ratable benefit
       of the Prepetition Secured Parties (as defined below), for any Diminution in Value (as
       defined below) of its Prepetition Collateral (as defined below), including (i) effective and
       perfected upon the entry of this Interim DIP Order, the Adequate Protection Liens (as
       defined below), (ii) effective upon the entry of the Interim DIP Order, the Adequate
       Protection Super-priority Claim (as defined below), subject to (a) the Carve-Out and (b)
       junior only to the DIP Super-priority Claim (as defined below) of the DIP Agent, and (iii)
       current cash payments payable under the Prepetition Loan Documents (as defined below)
       to the Prepetition Agent for the benefit of the Prepetition Secured Parties, for all
       professional fees and expenses incurred by the Prepetition Agent in connection with
       enforcement of the Prepetition Loan Documents and the Chapter 11 Cases;

    H. For an interim hearing (the “Interim Hearing”) on the Motion be held before this Court
       on or prior to June 8, 2018, to consider entry of this Interim DIP Order;

    I. For a final hearing (the “Final Hearing”) on or prior to June 29, 2018, to consider entry of
       the Final DIP Order authorizing and approving, on a final basis, all of the relief requested
       in the Motion and DIP Loan Documents, including the full amount of the DIP Facility;
       and

    J. related relief.

        In support of this Motion, the Debtors rely upon and incorporate by reference the

Declaration of Geoffrey Glass in Support of the Debtors’ Chapter 11 Petition and Requests for

First Day Relief (the “First Day Declaration”) filed concurrently herewith.2 In further support of

this Motion, Debtors respectfully state:

                                              Status of the Case

        1.       On the date hereof (the “Petition Date”), the Debtors commenced these cases (the

“Chapter 11 Cases”) by filing voluntary petitions for relief under chapter 11 of the Bankruptcy

Code in the United States Bankruptcy Court for the District of Delaware (the “Court”).

2
  Unless otherwise stated, capitalized terms used but not defined in this Motion have the meaning ascribed to them
in the First Day Declaration or the DIP Loan Agreement.



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       2.      The Debtors have continued in possession of their properties and are operating

and managing their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

       3.      No request has been made for the appointment of a trustee or examiner and a

creditors’ committee has not yet been appointed in these Chapter 11 Cases.

                        Jurisdiction, Venue and Statutory Predicates

       4.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       5.      The statutory predicates for the relief set forth herein are sections 105(a), 361,

362, 363 and 364 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, and 9014, and Local

Rule 4001-2.

                                          Background

       A.      The Debtors

       6.      Sancilio is a private pharmaceutical development and manufacturing company.

Its business is comprised of multiple business lines including: (i) the development of proprietary

prescription medicines using a unique and proprietary solubility enhancement technology called

Advanced Lipid Technologies (“ALT”); (ii) over-the-counter and behind-the-counter omega-3

dietary supplements under the brand “Ocean Blue”; (iii) prenatal vitamins and dental health

supplements that operate as “generics” dispensed at pharmacies; and (iv) third-party

development and manufacturing services for other companies. Sancilio’s lead product candidate

under the ALT platform is a product for the treatment of sickle cell disease in the pediatric

population.




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       7.      In 2017, Sancilio began experiencing increasingly constrained access to additional

capital and liquidity and, by late 2017, endured a liquidity crisis. In early 2018, Sancilio secured

an additional $5 million in equity capital to serve as bridge financing to pay overdue trade

payables pending an expected sale of the company, but that transaction was not consummated.

Accordingly, Sanclio began exploring its strategic alternatives including a further

recapitalization, refinancing or sale.     Notwithstanding these efforts, Sancilio received no

executable offer for recapitalization or refinancing.

       8.      Since mid-April the Debtors’ liquidity needs have been met from protective

overadvances funded by the Prepetition Lenders (as defined below). Having no executable path

to a recapitalization or refinancing, the Debtors’ commenced these cases to preserve themselves

as a going concern and to maximize the value of their estates. The Debtors’ objectives in these

Chapter 11 Cases are to sell all or substantially all their assets pursuant to section 363 of the

Bankruptcy Code in a flexible manner allowing for bids on all their assets, one or more of their

business lines, or any combination thereof.

       9.      A detailed factual background of the Debtors’ business and operations, as well as

the events precipitating the commencement of these Chapter 11 Cases, is more fully set forth in

the Declaration of Geoffrey Glass in Support of the Debtors’ Chapter 11 Petitions and Requests

for First Day Relief (the “First Day Declaration”), filed contemporaneously herewith and

incorporated herein by reference.

       B.      The Debtors’ Prepetition Capital Structure

       10.     As of the Petition Date, the Debtors’ capital structure is as follows:

       i.      Prepetition Secured Loans

       11.     Before the Petition Date, the Debtors and MidCap Financial Trust, as agent (in

such capacity, the “Prepetition Agent”) for the Lenders thereunder and the financial institutions


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or other entities from time to time party thereto as Lenders (collectively, the “Prepetition

Lenders,” and together with the Prepetition Agent, the “Prepetition Secured Parties”) entered

into that certain (i) Credit and Security Agreement, dated as of February 1, 2016 (as amended by

that certain First Amendment to Credit and Security Agreement and Limited Waiver, dated as of

April 13, 2017; (ii) Second Amendment to Credit and Security Agreement and Limited Waiver,

dated as of October 23, 2017; (iii) Third Amendment to Credit and Security Agreement, dated as

of January 2, 2018; and (iv) Omnibus Fourth Amendment to Credit and Security Agreement and

First Amendment to Third Amendment to Credit and Security Agreement, dated as of January 8,

2018, the “Prepetition Loan Agreement”).

       12.     After entry into the Prepetition Loan Agreement but before the Petition Date, the

Prepetition Agent declared a default pursuant to that certain Notice of Default and Reservation of

Rights Letter, dated April 6, 2018, delivered to SCP. Thereafter, the Debtors and the Prepetition

Secured Parties entered into that certain (i) Protective Advance Letter, dated April 12, 2018; (ii)

Second Protective Advance Letter, dated April 26, 2018; (iii) Third Protective Advance letter,

dated May 3, 2018; (iv) Fourth Protective Advance Letter, dated May 10, 2018; (v) Fifth

Protective Advance Letter, dated May 17, 2018 (the foregoing Protective Advance Letters and

the Prepetition Loan Agreement, and together with will all other agreements, documents and

instruments, entered into or delivered in connection with the foregoing, collectively, the

“Prepetition Loan Documents”), pursuant to which, among other things, the Prepetition

Lenders made certain loans and other financial accommodations to the Debtors in aggregate

principal amount of not less than $18,114,500 (collectively, the “Prepetition Secured Loans”).

       13.     The Prepetition Secured Loans are secured by first-priority, fully-perfected

security interests in and liens on all of Debtors’ right, title and interest in, to and under the




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“Collateral” as defined in the Prepetition Loan Documents (the “Prepetition Collateral”),

including Cash Collateral (as defined in the DIP Loan Agreement).

       ii.     Unsecured Claims

       14.     As of the Petition Date, the Debtors have unsecured obligations, not including any

deficiency claims, in the approximate amount of $5,008,299.72, consisting of accounts payable

to various trade creditors.

       iii.    Preferred and Common Stock

       15.     Before the Petition Date, SCP funded the Debtors’ operations, working capital

needs and investments, inter alia, through the issuance of redeemable convertible preferred

stock. As of the Petition Date, SCP has five series of preferred stock are outstanding.

       16.     As of the Petition Date, SCP’s common stock is privately held. Certain of the

holders of SCP’s preferred stock and common stock have entered into the Fourth Amended and

Restated Stockholders’ Agreement, dated as of January 9, 2018,

       C.      Approval of the DIP Facility and Authorization to Use Cash Collateral is
               Necessary to Meet the Debtors’ Immediate Need for Liquidity

       17.     Since mid-April 2018, the Debtors have relied upon protective overadvances from

the Prepetition Lenders to continue operations and preserve value. Had the Debtors relied solely

on revenues from operations without these protective overadvances, significant business

disruptions would almost certainly have resulted. As projected in the Budget, it remains the case

after the Petition Date that projected revenues are likely to be insufficient to fund adequately the

Debtors’ operations and working capital needs and the additional cash flow required to fund the

administrative expenses of these Chapter 11 Cases. Absent both approval of the DIP Facility and

authorization to use Cash Collateral, the Debtors will almost certainly experience business

disruptions. Moreover, the Debtors believe that approved and demonstrated access to liquidity



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through the DIP Facility and use of Cash Collateral is essential to provide the Debtors’

employees, vendors and service providers, and other stakeholders confidence in the Debtors’

ability to continue operating while it pursues a sale of all or substantially all the Debtors’ asset

pursuant to section 363 of the Bankruptcy Code (the “Section 363 Sale”).

       18.     Accordingly, the Debtors have an immediate and compelling need for access to

both the DIP Facility and Cash Collateral. Among other things, this access is necessary to

among other things, continue the operation of its business in an orderly manner, maintain

business relationships with customers and vendors, pay employees and satisfy other working

capital and operational needs—all of which are necessary to preserve and maintain the Debtor’s

going-concern value and, ultimately, conduct successfully a Section 363 Sale. Based on these

circumstances, the Debtors require the funding provided by the proposed DIP Facility and use of

Cash Collateral to avoid immediate and irreparable harm to its operations, business and estate.

       19.     In addition, for the reasons set forth more fully below and in the First Day

Declaration, the Debtors believe unsecured financing is not available, nor is financing on a junior

or pari passu secured basis, and the terms and conditions of the DIP Facility, and of the proposed

use of Cash Collateral in exchange for the Adequate Protection are fair and reasonable, and the

Debtors’ best option to finance their liquidity needs for these Chapter 11 Cases.




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              Summary of the Terms and Conditions of the Proposed DIP Facility3

        A.       Summary of Essential Terms under Bankruptcy Rule 4001(c)(1)(B) and
                 Local Rule 4001-2(a)(ii)

        20.      Pursuant to Bankruptcy Rule 4001(c)(1)(B) and Local Rule 4001-2(a)(ii), the

following chart summarizes the essential terms of the proposed DIP Facility, together with

references to applicable sections of the relevant source documents.

 Bankruptcy Rule /
                                                     Summary of Material Terms
    Local Rule
DIP Credit                  Borrowers: The Debtors
Agreement Parties
                     Guarantors: None
Fed. R. Bankr. P.
4001(c)(1)(B); Local Agent: MidCap Funding Trust XVIII
R. 4001-2(a)(ii)
                     Lenders: MidCap Funding Trust XVIII and the other lenders listed on
                     the Credit Facility Schedule attached hereto and otherwise party to the
                     DIP Loan Agreement from time to time

                            See DIP Loan Agreement, Recitals

Commitment                  The DIP Facility shall be the aggregate principal amount of not more
                            than $5,300,000 in new borrowings, of which the aggregate principal
Fed. R. Bankr. P.           amount of not more than $1,000,000 will be available to the Debtors on
4001(c)(1)(B); Local        an interim basis in weekly draws in accordance with the Budget and
R. 4001-2(a)(ii)            pursuant to the Interim DIP Order during the period from the Closing
                            Date to the entry of the Final DIP Order; (ii) an Origination Fee in the
                            amount of $265,000; and (iii) a Termination Fee equal to five percent
                            (5%) of (a) the total aggregate maximum principal amount of all
                            Applicable Commitments of all Credit Facilities (without giving effect
                            to any reduction in or elimination of the Applicable Commitments upon
                            the occurrence of a Default or DIP Event of Default), including the
                            principal amounts of all undisbursed tranches, plus (b) all Protective
                            Advances, which shall be approved by the Final DIP Order and deemed
                            fully earned on the date of entry of the Final DIP Order and paid on the
                            earliest to occur of (x) the Maturity Date, (y) the date of any full
                            prepayment of the Credit Facilities (or, in the case of a mandatory full
                            prepayment, on the date such mandatory prepayment becomes due and

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  The summaries contained in this Motion are qualified in their entirety by the provisions of the DIP Loan
Documents. To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable
documents shall control. Each capitalized term used and not otherwise defined in these summaries shall have the
meaning assigned thereto in the DIP Loan Agreement.



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                                            Summary of Material Terms
    Local Rule
                       payable) or (z) the date on which the DIP Obligations become due and
                       payable in full.

                       See DIP Loan Agreement, §2.2
Interest Rates and     Interest Rate: Each Credit Extension shall bear interest on the
Fees                   outstanding principal amount thereof from the date when made until
                       paid in full at a rate per annum equal to the Applicable Interest Rate.
Fed. R. Bankr. P.      Each DIP Lender may, upon the failure of the Debtors to pay any fees
4001(c)(1)(B); Local   or interest as required herein, capitalize such interest and fees and begin
R. 4001-2(a)(ii)       to accrue interest thereon until paid in full, which such interest shall be
                       at a rate per annum equal to the Applicable Interest Rate unless and
                       until the Default Rate shall otherwise apply. All other DIP Obligations
                       shall bear interest on the outstanding amount thereof from the date they
                       first become payable by The Debtors under the DIP Financing
                       Documents until paid in full at a rate per annum equal to the Applicable
                       Interest Rate unless and until the Default Rate shall otherwise apply.
                       Interest on the Credit Extensions and all fees payable under the DIP
                       Financing Documents shall be computed on the basis of a 360-day year
                       and the actual number of days elapsed in the period during which such
                       interest accrues.

                       Default Interest: Upon the election of DIP Agent following the occurrence
                       and during the continuance of a DIP Event of Default, the DIP Obligations
                       shall bear interest at a rate per annum which is three hundred basis points
                       (3.00%) above the rate that is otherwise applicable thereto.

                       See DIP Loan Agreement, § 2.6(a), (b).
Loan Fees              The Debtors shall pay the following fees, all of which shall be DIP
                       Obligations:
Fed. R. Bankr. P.         Origination Fee. On the Closing Date, an origination fee equal to
4001(c)(1)(B); Local      the sum of $265,000.00.
R. 4001-2(a)(ii)
                          Termination Fee. On the earliest to occur of (i) the Maturity Date,
                          (ii) the date of any full prepayment of the Credit Facilities (or, in the
                          case of a mandatory full prepayment, on the date such mandatory
                          prepayment becomes due and payable) or (iii) the date on which the
                          DIP Obligations become due and payable in full, an amount equal to
                          five percent (5%) of (A) the total aggregate maximum principal
                          amount of all Applicable Commitments of all Credit Facilities
                          (without giving effect to any reduction in or elimination of the
                          Applicable Commitments upon the occurrence of a Default or DIP
                          Event of Default), including the principal amounts of all
                          undisbursed tranches, plus (B) all Protective Advances.

                       See DIP Loan Agreement, § 2.6(e).


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                                            Summary of Material Terms
    Local Rule
Term                   All DIP Obligations, to the extent not already paid or satisfied, shall be
                       repaid in full (subject to the Carve-Out) on the earliest to occur of: (i)
Fed. R. Bankr. P.      the Interim DIP Facility Maturity Date, (ii) the closing of the 363 Sale,
4001(c)(1)(B); Local   (iii) the occurrence of a DIP Event of Default, and (iv) August 31, 2018.
R. 4001-2(a)(ii)
                       See DIP Loan Agreement, § 2.6(d)
Use of DIP Facility    Subject to terms and conditions of the DIP Loan Agreement, (a) the
                       Debtors shall use the proceeds of the Credit Extensions solely in
Fed. R. Bankr. P.      accordance with the terms of the Budget, including: (i) to pay (a) all
4001(c)(1)(B); Local   reasonable fees due to the DIP Lenders and DIP Agent, (b) all
R. 4001-2(a)(ii)       professional fees and expenses (including reasonable fees and expenses
                       of attorneys (including counsel for the Debtors, Greenberg Traurig LLP,
                       and counsel to DIP Agent and DIP Lenders, Hogan Lovells US LLP),
                       local counsel to DIP Agent and DIP Lenders, and financial advisors),
                       incurred by the DIP Lenders and DIP Agent, including those incurred in
                       connection with the preparation, negotiation, documentation and
                       Bankruptcy Court approval of the DIP Facility, and (c) Adequate
                       Protection payments as set forth in Section 4.5, and (ii) to provide
                       working capital, and for other general corporate purposes of the
                       Debtors, and to pay administration costs of the Chapter 11 Cases and
                       claims or amounts approved by the Bankruptcy Court as set forth in the
                       Budget.

                       See DIP Loan Agreement, § 6.9(a).
Limitations on Use     Notwithstanding the foregoing, no portion of Cash Collateral, if any, the
of DIP Facility        DIP Facility, the DIP Collateral or the Carve-Out may be used:
                               (i)     for any purpose that is prohibited under the Bankruptcy
Fed. R. Bankr. P.      Code or a Chapter 11 Order;
4001(c)(1)(B); Local           (ii)    to finance in any way, (i) any adversary action, contested
R. 4001-2(a)(ii)       matter, suit, arbitration, proceeding, application, motion, objection or
                       other litigation of any type adverse to the interests of any or all of DIP
                       Agent, the DIP Lenders, the Prepetition Agent or the Prepetition
                       Lenders or their respective rights and remedies under the DIP Financing
                       Documents, the Interim DIP Order, the Final DIP Order or the
                       Prepetition Financing Documents, or (ii) any other action which with
                       the giving of notice or passing of time would result in a DIP Event of
                       Default under the DIP Financing Documents;
                               (iii)   for the payment of fees, expenses, interest or principal
                       under the Prepetition Financing Documents (other than the permitted
                       Adequate Protection payments as set forth in Section 4.5);
                               (iv)    to make any distribution under a plan of reorganization
                       in the Chapter 11 Cases;
                               (v)     to make any payment in settlement of any claim, action
                       or proceeding, before any court, arbitrator or other governmental body


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                                            Summary of Material Terms
    Local Rule
                       without the prior written consent of the Required DIP Lenders; and/or
                              (vi)    for any purpose or in any manner not approved in the
                       Budget or by the Required DIP Lenders.

                       See DIP Loan Agreement, § 6.9(b).
Conditions             The obligation of the DIP Administrative Agent and DIP Lenders to
Precedent              make the Interim DIP Facility available to the Debtor shall be subject to
                       the prior or concurrent satisfaction by the Debtor (unless waived by the
Fed. R. Bankr. P.      Required DIP Lenders) of each of the following:
4001(c)(1)(B); Local           1.      With respect to Credit Facility #1, duly executed and
R. 4001-2(a)(ii)       delivered copies of the DIP Financing Documents.
                               2.      Duly executed original Secured Promissory Notes in
                       favor of each DIP Lender with a face amount equal to such DIP
                       Lender’s Applicable Commitment under each Credit Facility, if
                       requested under Section 2.7.
                               3.      Written evidence (including any UCC termination
                       statements) that any Liens indicated in any financing statements
                       provided or obtained under Section 3.5 or otherwise either constitute
                       Permitted Liens or have been or, in connection with the initial Credit
                       Extension, will be terminated or released.
                               4.      Payment of the fees and expenses of DIP Agent and DIP
                       Lenders then accrued and approved pursuant to the Chapter 11 Orders.
                               5.      Timely receipt by DIP Agent of an executed and
                       delivered loan disbursement statement.
                               6.      All possessory collateral required to be delivered to DIP
                       Agent with corresponding endorsements pursuant to Section 4.2(b).
                               7.      With respect to Credit Facility #1, the Chapter 11 Cases
                       shall have been commenced in the Bankruptcy Court and all of the First
                       Day Orders shall have been reviewed in advance by the DIP Lenders
                       and DIP Agent, shall be in form and substance acceptable to the
                       Required DIP Lenders and DIP Agent in their sole discretion.
                               8.      With respect to Credit Facility #1, the Bankruptcy Court
                       shall have (i) entered the Interim DIP Order, which Interim DIP Order
                       shall be in form and substance satisfactory to the sole discretion of DIP
                       Agent and DIP Lenders and, and (ii) authorized, confirmed and
                       approved all terms and provisions of this Agreement and other DIP
                       Financing Documents.
                               9.      With respect to Credit Facility #2 only, the Bankruptcy
                       Court shall have (i) entered the Final DIP Order, which Final DIP Order
                       shall be in form and substance satisfactory to the sole discretion of DIP
                       Agent and DIP Lenders and, and (ii) authorized, confirmed and
                       approved all terms and provisions of this Agreement and other DIP
                       Financing Documents.
                               10.     The Debtors shall be in compliance in all material


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 Bankruptcy Rule /
                                            Summary of Material Terms
    Local Rule
                       respects with (i) with respect to Credit Facility #1, the Interim DIP
                       Order and (ii) with respect to Credit Facility #2, the Final DIP Order.
                               11.     All First Day Orders entered by the Bankruptcy Court,
                       and all other motions and documents filed or to be filed with, and
                       submitted to, the Bankruptcy Court in connection therewith shall be in
                       form and substance satisfactory to DIP Agent and DIP Lenders in their
                       sole discretion.
                               12.     The DIP Lenders and DIP Agent shall have been
                       granted, pursuant to the Interim DIP Order, and the Final DIP Order,
                       once entered, a perfected, first priority Lien on all DIP Collateral and
                       shall have received UCC, tax and judgment Lien searches, and other
                       appropriate evidence, evidencing the absence of any other Liens on the
                       DIP Collateral, except the Permitted Liens.

                       See DIP Loan Agreement, § 3.1, Closing Deliveries Schedule
Budget Covenants       The Debtors shall not, directly or indirectly, (A) use any proceeds of the
Fed. R. Bankr. P.      Credit Extensions in a manner or for a purpose other than those
4001(c)(1)(B); Local   consistent with this Agreement and the Chapter 11 Orders; or (B) permit
R. 4001-2(a)(ii)       a disbursement causing any deviation from the Budget other than the
                       Disbursements Permitted Deviations.

                       So long as no DIP Event of Default has occurred and is continuing, the
                       Debtors shall be permitted to pay fees and expenses of Professionals
                       solely to the extent that such fees and expenses are in accordance with
                       the Budget and the Interim DIP Order or the Final DIP Order, as
                       applicable, and authorized to be paid under sections 330 and 331 of the
                       Bankruptcy Code (other than any Professionals whose fees are not
                       subject to such provisions, if any) pursuant to an order of the
                       Bankruptcy Court, as the same may be due and payable. Subject to the
                       Chapter 11 Orders, upon the occurrence of a DIP Event of Default
                       (subject to all applicable grace periods set forth in this Agreement and
                       the Chapter 11 Orders), the right of the Debtors to pay Professional fees
                       and expenses shall terminate, other than as provided with respect to the
                       Carve-Out.

                       To the extent the Debtors has Cash Collateral equal to or in excess of
                       $600,000.00 on any date of determination, the Debtors are prohibited
                       from submitting a Credit Extension Form to the DIP Agent and from
                       borrowing any Credit Extensions.

                       See DIP Loan Agreement, §8.1(d)
Reporting              Compliance with the Budget shall be tested for the first week and each
Information            subsequent week on a cumulative basis beginning on the Petition Date
                       (each, a “Budget Test Period”). During each Budget Test Period, the


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Fed. R. Bankr. P.       Debtors will not permit (a) the (i) the sum of the actual Net Revenue for
4001(c)(1)(B); Local    such Budget Test Period plus the sum of the actual Net Revenue for
R. 4001-2(a)(ii)        each previous Budget Test Period, to be less than (ii) (A) the sum of the
                        “Total Cash Receipts” for such Budget Test Period plus the sum of
                        “Total Cash Receipts” for each previous Budget Test Period, each as set
                        forth in the Budget, multiplied by 80% for Week 1, 85% for Week 2
                        and 90% for Week 3 and thereafter (“Net Revenue Permitted
                        Deviation”); provided that the DIP Agent, at the direction of the
                        Required DIP Lenders, may authorize the Debtors in writing to exceed
                        the Net Revenue Permitted Deviation for any Budget Test Period; or (b)
                        the actual aggregate amount of disbursements set forth in the Budget to
                        be more than 110% of the aggregate budgeted amount for such Budget
                        Test Period set forth in the Budget and each previous Budget Test
                        Period set forth in the Budget (the “Disbursements Permitted
                        Deviation”, and together with the Net Revenue Permitted Deviation,
                        “Permitted Deviations”); provided that the DIP Agent, at the direction
                        of the Required DIP Lenders, may authorize the Debtors in writing to
                        exceed the Disbursements Permitted Deviation for any Budget Test
                        Period. On the first Business Day of each week, the Debtors shall
                        deliver a Reconciliation Report to the DIP Agent in accordance with the
                        DIP Loan Agreement. In addition, the Debtors shall notify the DIP
                        Agent as soon as reasonably practicable if the Debtors anticipate that
                        they will violate the Permitted Deviations in any respect for any Budget
                        Test Period. All other provisions related to the Budget as set forth in the
                        DIP Loan Agreement shall be adhered to by the Debtors.

                        See DIP Loan Agreement, § 8.2
Chapter 11              The Debtor shall comply with the following milestones in connection
Milestones              with the 363 Sale:
                                (a)     As promptly as possible, but in no event later than two
Fed. R. Bankr. P.       (2) Business Days after the Petition Date, the Debtors shall file Bidding
4001(c)(1)(B)(vi);      Procedures Motion
Local R.4001-2(a)(ii)           (b)     As promptly as possible, but in no event later than
                        twenty-five (25) days after the Petition Date, the Bankruptcy Court shall
                        have entered the Bidding Procedures Order;
                                (c)     As promptly as possible, but in no event later than one
                        (1) Business Day after entry of the Bidding Procedures Order, the
                        Debtors shall forward so-called “bid packages” to potential bidders,
                        subject to the terms and conditions contained in the Bidding Procedures
                        Order;
                                (d)     As promptly as possible, but in no event later than
                        twenty-one (21) Business Days after entry of the Bidding Procedures
                        Order (the “Bid Deadline”), binding bids with respect to the 363 Sale
                        shall be due and delivered to the Loan Parties in accordance with the


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                     Bidding Procedures Order (and copies of such bids shall be provided to
                     the DIP Agent);
                            (e)     As promptly as possible, but in no event later than three
                     (3) Business Days after the Bid Deadline, the Auction shall have been
                     completed; and
                            (f)     As promptly as possible, but in no event later than five
                     (5) Business Days after completion of the Auction, the Bankruptcy
                     Court shall have entered an order (the “363 Sale Order”) approving the
                     363 Sale, which order shall be in form and substance acceptable to the
                     DIP Agent; and
                            (g)     As promptly as possible, but in no event later than twelve
                     (12) Business Days after entry of the 363 Sale Order, the Debtors shall
                     have consummated the 363 Sale as requested in the Sale Order Motion.

                     See DIP Loan Agreement, § 6.17.
Liens and Priority   Upon entry of the Chapter 11 Orders, and subject to the Carve-Out, at
Claims               all times:
                          (a) all DIP Obligations, including all Credit Extensions under the
Fed. R. Bankr. P.    DIP Facility, shall pursuant to section 364(c)(1) of the Bankruptcy
4001(c)(1)(B)(i);    Code, constitute allowed Super-priority Claims in the Chapter 11 Cases,
Local R. 4001-       which Super-priority Claims are superior to all other Super-priority
2(a)(i)(D), 4001-    Claims and other claims against the Debtors in the Chapter 11 Cases,
2(a)(ii)             now or hereafter arising, of any kind whatsoever, including, for the
                     avoidance of doubt, the Super-priority Claim granted to the Prepetition
                     Agent and Prepetition Lenders pursuant to the Chapter 11 Orders;
                          (b) all Liens against the DIP Collateral securing the DIP Obligations
                     authorized pursuant to:
                              (i)     section 364(c)(2) of the Bankruptcy Code, shall
                     constitute valid, binding, continuing, enforceable, fully-perfected first
                     priority senior Liens upon the DIP Collateral to the extent not subject to
                     any Permitted Liens, which DIP Collateral shall include all cash
                     advanced as Credit Extensions and all products and proceeds of the
                     Credit Extensions; and
                              (ii)     section 364(d) of the Bankruptcy Code, shall constitute
                     valid, fully perfected, enforceable, first priority, priming Liens on DIP
                     Collateral that had been subject to a Lien as of the Petition Date, other
                     than on DIP Collateral subject to Permitted Liens described in clauses
                     (b) through (i) in the definition thereof (“Excluded DIP Collateral”)
                     (which such Excluded DIP Collateral shall be subject to fully perfected
                     and enforceable junior priority DIP Liens in favor of the DIP Agent, for
                     the benefit of itself and the DIP Lenders, pursuant to section 364(c)(3)
                     of the Bankruptcy Code).

                     See DIP Loan Agreement, §4.3


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Carve Out              All DIP Obligations (and the repayment thereof), Prepetition Secured
                       Obligations, Prepetition Liens, DIP Liens, the DIP Super-priority
Fed. R. Bankr. P.      Claim, and Adequate Protection shall be subject to and subordinate to
4001(c)(1)(B); Local   the Carve-Out for payment of (a) all fees required to be paid pursuant to
R. 4001-2(a)(i)(F)     28 U.S.C. § 1930(a)(6) and any fees payable to the Clerk of the
                       Bankruptcy Court that are (i) incurred prior to the Maturity Date, and
                       (ii) included in the Budget for the period prior to the Maturity Date; plus
                       (b) all fees and expenses of professionals retained by the Debtors in the
                       Chapter 11 Cases pursuant to Bankruptcy Code sections 327, 328 or
                       363 (collectively, the “Debtor Professionals”) and any official
                       committee of unsecured creditors or equity holders appointed in the
                       Chapter 11 Cases (the “Committee Professionals”; collectively with the
                       Debtor Professionals, the “Professionals”; the term “Professionals” shall
                       exclude ordinary course professionals retained by the Debtors) that are
                       (i) incurred prior to the Maturity Date and which have not been paid
                       prior to the Maturity Date, (ii) allowed either prior to or after the
                       Maturity Date, and (iii) included in the Budget (including, without
                       limitation, the notes, provisions or reservations therein regarding the
                       fees and expenses of Professionals) for the period prior to the Maturity
                       Date; plus (c) all fees and expenses of the Debtor Professionals incurred
                       and allowed after the occurrence of the Maturity Date, in an aggregate
                       amount not to exceed $75,000.00; (d) plus all fees and expenses of the
                       Committee Professionals incurred and allowed after the occurrence of
                       the Maturity Date, in an aggregate amount not to exceed $15,000.00, (d)
                       an aggregate amount not to exceed $40,000.00 to fund the Debtors’
                       costs and expenses (other than Professional fees and expenses included
                       in the preceding clause (c)) to conclude the Chapter 11 Cases through a
                       plan process, structured or other case dismissal, case conversion or
                       otherwise; plus (e) all fees required to be paid pursuant to 28 U.S.C. §
                       1930(a)(6) and any fees payable to the Clerk of the Bankruptcy Court
                       after the Maturity Date. On the day on which the Maturity Date occurs,
                       such occurrence shall constitute a demand to the Debtors to utilize all
                       cash on hand as of such date and any available cash thereafter held by
                       any Debtor to fund the Carve-Out, and the Debtors shall deposit and
                       hold any such amounts in a segregated account in trust for purposes of
                       satisfying amounts under the Carve-Out (the “Reserve”) (it being
                       understood that any residual amount of such segregated account shall be
                       DIP Collateral and Cash Collateral). To the extent the Debtors do not
                       have sufficient cash to fund the Reserve in full, the DIP Lenders shall
                       deposit cash into the Reserve in an amount sufficient to fully fund the
                       Reserve. For the avoidance of doubt and notwithstanding anything to
                       the contrary herein, in the DIP Loan Documents or the Prepetition Loan
                       Documents, the Carve-Out shall be senior to the DIP Liens, the DIP
                       Super-priority Claims, the Adequate Protection Liens, the Adequate



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                      Protection Super-priority Claims, any and all other forms of adequate
                      protection, and the liens and claims securing the Prepetition Secured
                      Obligations. All amounts in the Reserve shall be utilized for the
                      purposes and in the manner set forth in Paragraph 23 of the Interim DIP
                      Order.

                      See Interim DIP Order, ¶ 23
Stipulations to       Debtors’ Acknowledgments and Agreements. Without prejudice to the
Prepetition Liens     rights of any other party and subject to Paragraph 37 of the Interim DIP
and Claims            Order, the Debtors admit, stipulate, acknowledge and agree that:
                           (a) Prepetition Secured Loans. Prior to the Petition Date, the
Fed. R. Bankr. P.     Debtors and the Prepetition Agent for the Prepetition Lenders entered
4001(c)(1)(B)(iii);   into the Prepetition Secured Loans in aggregate principal amount of not
Local R. 4001-        less than $18,114,500.00. The Prepetition Secured Loans are secured by
2(a)(i)(B)            first priority, fully-perfected security interests in and liens on all of
                      Debtors’ right, title and interest in, to and under the Prepetition
                      Collateral.
                           (b) Validity and Enforceability.        (i) The Prepetition Loan
                      Documents are valid and enforceable by the Prepetition Secured Parties
                      against the Debtors and as between the other parties thereto, (ii) the
                      Prepetition Secured Obligations constitute legal, valid, binding, and
                      non-avoidable obligations of the Debtors and are secured by valid,
                      binding, enforceable, duly perfected first priority Prepetition Liens
                      (except as to Permitted Liens) and security interests granted by the
                      Debtors to the Prepetition Secured Parties in the Prepetition Collateral
                      in the amount and to the extent set forth in the Prepetition Loan
                      Documents, including the proceeds derived therefrom, and (iii) the
                      Prepetition Secured Parties duly perfected the Prepetition Liens
                      securing the Prepetition Secured Obligations by, among other things,
                      filing financing statements, recording mortgages, obtaining control over
                      deposit accounts, and, where necessary, by possession of relevant
                      instruments, certificates, cash or other property, and all such
                      instruments and actions were validly executed or performed, as the case
                      may be, by, or at the direction or with the consent of, authorized
                      representatives of the Debtors.
                           (c) No Challenges. (i) No offsets, recoupments, challenges,
                      objections, reductions, defenses, impairments, claims, counterclaims, or
                      cross-claims of any kind or nature to any of the Prepetition Secured
                      Parties, Prepetition Liens, Prepetition Collateral, or Prepetition Secured
                      Obligations (or to any amounts previously paid to the Prepetition
                      Secured Parties on account thereof or with respect thereto) by any
                      person or entity exist, including, without limitation, avoidance,
                      disallowance, disgorgement, recharacterization, or subordination
                      (whether equitable, contractual, or otherwise) pursuant to the


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                      Bankruptcy Code or applicable foreign or domestic law or regulation,
                      (ii) the Debtors and their estates have no valid claims, objections,
                      challenges, causes of actions, or choses in action, including without
                      limitation, Avoidance Actions, against the Prepetition Secured Parties
                      or against any of their respective affiliates, agents, attorneys, advisors,
                      professionals, officers, managers, members, directors or employees
                      arising out of, based upon or related to the Prepetition Liens, Prepetition
                      Collateral, Prepetition Secured Obligations or Prepetition Loan
                      Documents, and (iii) the Debtors irrevocably waive all rights to
                      challenge or contest the Prepetition Liens of the Prepetition Secured
                      Parties on the Prepetition Collateral or the validity or amount of the
                      Prepetition Liens, Prepetition Collateral, Prepetition Secured
                      Obligations or Prepetition Loan Documents, as applicable;
                           (d) Cash Collateral. All of the Debtors’ cash constitutes Cash
                      Collateral or proceeds of the Prepetition Collateral and, therefore, is
                      Cash Collateral of the Prepetition Secured Parties. For purposes of this
                      Interim DIP Order, the term “Cash Collateral” shall be deemed to
                      include, without limitation: (x) all “cash collateral” as defined in section
                      363(a) of the Bankruptcy Code; and (y) all deposits subject to setoff and
                      cash arising from the collection or other conversion to cash of property
                      of the Debtors in which the Prepetition Secured Parties assert security
                      interests, liens or mortgages, regardless of whether such security
                      interests, liens, or mortgages existed as of the Petition Date or arose
                      thereafter pursuant to this Interim DIP Order, and whether the property
                      converted to cash existed as of the Petition Date or arose thereafter.

                      See Interim DIP Order ¶ 10, 37.
Adequate Protection   Adequate Protection Obligations. Pursuant to the Chapter 11 Orders,
                      the Prepetition Agent, for the benefit of the Prepetition Lenders, shall be
Fed. R. Bankr. P.     granted the following Adequate Protection pursuant to sections 361,
4001(c)(1)(B)(ii)     507, 363(e) and 364(d)(1) of the Bankruptcy Code or otherwise, in
                      connection with: (a) (i) the priming of the Prepetition Liens securing the
                      Prepetition Loans to be effectuated by the Liens and DIP Facility, (ii)
                      the use of the Prepetition Collateral (including Cash Collateral), and (iii)
                      all of the other transactions contemplated by the DIP Facility, and (b)
                      for any diminution in the value of the Prepetition Liens of the
                      Prepetition Agent, for the benefit of the Prepetition Lenders, whether or
                      not such diminution in value results from the sale, lease or use by the
                      Debtors of the Prepetition Collateral securing the Prepetition
                      Obligations (including Cash Collateral), the priming of the Prepetition
                      Liens securing the Prepetition Loans or the stay of enforcement of any
                      Prepetition Lien securing the Prepetition Loans arising from sections
                      105 or 362 of the Bankruptcy Code, or otherwise.




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                      Adequate Protection Liens. The Prepetition Agent shall be granted for
                      the benefit of the Prepetition Lenders, effective and perfected as of the
                      Interim DIP Order Entry Date and without the necessity of the
                      execution of mortgages, deeds of trust, security agreements, pledge
                      agreements, control agreements, financing statements or other
                      agreements, a valid and perfected security interest in and lien on all
                      assets of the Debtors and in the same relative priority and to the same
                      extent, priority, enforceability, unavoidability and validity applicable to
                      the respective Prepetition Liens in the Prepetition Collateral as
                      described in the Interim DIP Order and the Final DIP Order, as
                      applicable, which liens and security interests are junior and subordinate
                      only to (i) the Carve-Out, (ii) the Liens securing the DIP Obligations,
                      (iii) the DIP Obligations, (iv) the Super-priority Claims of DIP Agent,
                      and (v) the Permitted Liens.

                      Super-priority Claim. Pursuant to and upon the entry of the Interim DIP
                      Order, the Prepetition Agent, on behalf of itself and the Prepetition
                      Lenders, shall be granted, subject to the Carve-Out, an allowed Super-
                      priority Claim junior only to the Super-priority Claim of DIP Agent and
                      any Permitted Lien; provided that the Prepetition Agent and Prepetition
                      Lenders shall not receive or retain any payments, property or other
                      amounts in respect of such Super-priority Claim unless and until the
                      DIP Obligations have indefeasibly been paid in cash in full.

                      Fees and Expenses. The Debtors shall make current cash payments
                      payable under the Prepetition Financing Documents to the Prepetition
                      Agent for all professional fees and expenses incurred by the Prepetition
                      Agent in connection with enforcement of the Prepetition Financing
                      Documents and the Chapter 11 Cases, subject to the delivery of a Fee
                      Notice, as defined in, and in the manner set forth in the Interim DIP
                      Order.

                      See DIP Loan Agreement, § 4.4, 4.5.
Waiver/Modification   The automatic stay imposed under section 362(a) of the Bankruptcy
of the Automatic      Code is hereby vacated and modified to the extent necessary to permit
Stay; Remedies        the Debtors to grant the DIP Liens to the DIP Agent and DIP Lenders
                      and the Adequate Protection Liens to the Prepetition Secured Parties
Fed. R. Bankr. P.     contemplated by the DIP Loan Documents and this Interim DIP Order,
4001(c)(1)(B)(iv)     including, but not limited to, the right to seek additional or different
                      adequate protection.

                      Following five (5) Business Days’ notice of a DIP Event of Default to
                      the Debtors, any Committee, and the Office of the U.S. Trustee, unless
                      such DIP Event of Default is cured within such time or an order of the


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                      Bankruptcy Court is entered to the contrary, the DIP Agent and the DIP
                      Lenders shall have relief from the automatic stay to exercise remedies
                      under the DIP Loan Documents, the Chapter 11 Orders, and applicable
                      law.

                      See Interim DIP Order ¶ 27, 34
Waiver/Modification   The DIP Liens and Adequate Protection Liens granted pursuant to the
of Applicability of   DIP Loan Documents and this Interim DIP Order shall constitute valid,
Nonbankruptcy Law     enforceable and fully perfected security interests and liens, and the DIP
Relating to           Agent, DIP Lenders and the Prepetition Secured Parties shall not be
Perfection or         required to file, record or serve financing statements, mortgages, notices
Enforceability of     of lien or similar instruments which otherwise may be required under
Liens                 federal, state or local law in any jurisdiction, or take any action,
                      including taking possession, to validate and perfect such security
Fed. R. Bankr. P.     interests and liens. The failure by the Debtors to execute, file, record or
4001(c)(1)(B)(vii)    serve, or take any similar actions, with respect to any of the foregoing or
                      similar documents or instruments relating to the DIP Liens or Adequate
                      Protection Liens shall in no way affect the validity, enforceability,
                      perfection or relative priority of such security interests and liens. The
                      DIP Agent, DIP Lenders and Prepetition Secured Parties are hereby
                      authorized, but not required, to file or record financing statements,
                      trademark filings, copyright filings, mortgages, deeds of trust, or notices
                      of lien or similar instruments in any jurisdiction, or take any other
                      action in order to validate and perfect the liens and security interests
                      granted to them hereunder. Whether or not the DIP Agent, DIP Lenders
                      or Prepetition Secured Parties shall, in their sole discretion, choose to
                      file any of the foregoing or otherwise confirm perfection of the liens
                      and security interests granted to them under the DIP Loan Documents
                      and this Interim DIP Order, such liens and security interests shall be
                      deemed valid, perfected, allowed, enforceable, nonavoidable and not
                      subject to challenge, dispute or subordination, at the time and as of the
                      date of entry of this Interim DIP Order.

                      See Interim DIP Order ¶ 28.
Indemnification       The Debtors hereby agrees to indemnify, pay and hold harmless DIP
                      Agent and DIP Lenders and the officers, directors, employees, trustees,
Fed. R. Bankr. P.     agents, investment advisors, collateral managers, servicers, and counsel
4001(c)(1)(B)(ix)     of DIP Agent and DIP Lenders (collectively called the “Indemnitees”)
                      from and against any and all liabilities, obligations, losses, damages,
                      penalties, actions, judgments, suits, claims, costs, expenses and
                      disbursements of any kind or nature whatsoever (including the
                      disbursements and reasonable fees of counsel for such Indemnitee) in
                      connection with any investigative, response, remedial, administrative or
                      judicial matter or proceeding, whether or not such Indemnitee shall be


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                       designated a party thereto and including any such proceeding initiated
                       by or on behalf of a Credit Party, and the reasonable expenses of
                       investigation by engineers, environmental consultants and similar
                       technical personnel and any commission, fee or compensation claimed
                       by any broker (other than any broker retained by DIP Agent or DIP
                       Lenders) asserting any right to payment for the transactions
                       contemplated hereby, which may be imposed on, incurred by or asserted
                       against such Indemnitee as a result of or in connection with the
                       transactions contemplated hereby and the use or intended use of the
                       proceeds of the Credit Facilities, except that the Debtors shall have no
                       obligation hereunder to an Indemnitee with respect to any liability
                       resulting from the gross negligence or willful misconduct of such
                       Indemnitee, as determined by a final non-appealable judgment of a
                       court of competent jurisdiction. To the extent that the undertaking set
                       forth in the immediately preceding sentence may be unenforceable, the
                       Debtors shall contribute the maximum portion which it is permitted to
                       pay and satisfy under applicable Law to the payment and satisfaction of
                       all such Indemnified Liabilities incurred by the Indemnitees or any of
                       them. No Indemnitee shall be liable for any damages arising from the
                       use by unintended recipients of any information or other materials
                       distributed by it through telecommunications, electronic or other
                       information transmission systems in connection with this Agreement or
                       the other DIP Financing Documents or the transactions contemplated
                       hereby or thereby.

                       See Interim DIP Order ¶ 13.2(b).
Counsel Fees &         Subject to the provisions of the Chapter 11 Orders concerning “Fee
Expenses               Notices”, the Debtors hereby agrees to promptly pay (i) (A) all costs
                       and expenses of DIP Agent (including, without limitation, the costs,
Fed. R. Bankr. P.      expenses and reasonable fees of counsel to, and independent appraisers
4001(c)(1)(B); Local   and consultants retained by, DIP Agent) in connection with the
R. 4001-2(a)(ii)       examination, review, due diligence investigation, documentation,
                       negotiation, closing and syndication of the transactions contemplated by
                       the DIP Financing Documents, and in connection with the continued
                       administration of the DIP Financing Documents including (1) any
                       amendments, modifications, consents and waivers to and/or under any
                       and all DIP Financing Documents, and (2) any periodic public record
                       searches conducted by or at the request of DIP Agent (including,
                       without limitation, title investigations, UCC searches, fixture filing
                       searches, judgment, pending litigation and tax lien searches and
                       searches of applicable corporate, limited liability, partnership and
                       related records concerning the continued existence, organization and
                       good standing of certain Persons), and (B) costs and expenses of DIP
                       Agent in connection with the performance by DIP Agent of its rights


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                        and remedies under the DIP Financing Documents; (ii) without
                        limitation of the preceding clause (i), all costs and expenses of DIP
                        Agent in connection with the creation, perfection and maintenance of
                        Liens pursuant to the DIP Financing Documents; (iii) without limitation
                        of the preceding clause (i), all costs and expenses of DIP Agent in
                        connection with (A) protecting, storing, insuring, handling, maintaining
                        or selling any DIP Collateral, (B) any litigation, dispute, suit or
                        proceeding relating to any DIP Financing Document, and (C) any
                        workout, collection, bankruptcy, insolvency and other enforcement
                        proceedings under any and all of the DIP Financing Documents; (iv)
                        without limitation of the preceding clause (i), all costs and expenses of
                        DIP Agent in connection with DIP Agent’s reservation of funds in
                        anticipation of the funding of the Credit Extensions to be made
                        hereunder; and (v) all costs and expenses incurred by DIP Agent or DIP
                        Lenders in connection with any litigation, dispute, suit or proceeding
                        relating to any DIP Financing Document and in connection with any
                        workout, collection, bankruptcy, insolvency and other enforcement
                        proceedings under any and all DIP Financing Documents, whether or
                        not DIP Agent or DIP Lenders are a party thereto (provided that the fees
                        and expenses of counsel that shall be reimbursable pursuant to this
                        clause (v) shall in any event be limited to one primary counsel for DIP
                        Agent, one separate primary counsel for the DIP Lenders as a whole,
                        one local counsel in each reasonably necessary jurisdiction, one
                        specialty counsel in each reasonably necessary specialty area, and one
                        or more additional counsel if one or more conflicts of interest arise). If
                        DIP Agent uses in-house counsel for any of these purposes, the Debtors
                        further agrees that the DIP Obligations include reasonable charges for
                        such work commensurate with the fees that would otherwise be charged
                        by outside legal counsel selected by DIP Agent for the work performed.

                        See Interim DIP Order ¶ 13.2(a).

       B.     Highlighted Provisions under Local Rule 4001-2(a)(i)

       21.    Local Rule 4001-2(a)(i) requires this Motion to recite whether the DIP Orders or

the other DIP Documentation contain any of the following seven provisions and, to the extent

such provisions are present, to identify their location in the relevant documents justify their

inclusion.

       (i)    Local    R. 4001-2(a)(i)(A)—Cross-Collateralization       Protection.         Not
              Applicable—the DIP Facility does not include cross-collateralization provisions.



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      (ii)     Local R. 4001-2(a)(i)(B)—Challenge Period. Not applicable—the Interim DIP
               Order provides for seventy-five (75) days from entry of the Interim DIP Order,
               and with respect to a creditors’ committee, if formed, sixty days (60) days from
               the date of its formation, before the stipulations and findings set forth in the
               Interim DIP Order become binding .

      (iii)    Local R. 4001-2(a)(i)(C)—506(c) Waiver. Upon entry of the Final DIP Order,
               the right, if any, of any person or entity to surcharge the Prepetition Collateral
               pursuant to section 506(c) of the Bankruptcy Code is waived, subject to the
               Carve-Out. See Interim DIP Order ¶ 49.

      (iv)     Local R. 4001-2(a)(i)(D)—Liens on Avoidance Actions. Upon entry of the Final
               DIP Order, the DIP Liens will include the proceeds of all Avoidance Actions. See
               Interim DIP Order §16(d).

      (v)      Local R. 4001-2(a)(i)(E)—Roll-Up. Not applicable—the DIP Facility does not
               contain provisions that deem prepetition secured debt to be postpetition debt or
               that use postpetition loans from a prepetition secured creditor to pay part or all of
               that secured creditor's prepetition debt.

      (vi)     Local R. 4001-2(a)(i)(F)—Disparate Carve Out Treatment. The DIP Facility
               does not provide for disparate carve-out treatment for the professionals retained
               by any creditors’ committee from the professionals retained by the Debtors,
               provided that, after the Maturity Date, the amount reserved for the Debtor
               Professionals is $75,000, and that for the Committee Professionals is $15,000.

      (vii)    Local R. 4001-2(a)(i)(G)—Nonconsensual Priming. Not applicable—the DIP
               Facility does not provide for nonconsensual priming of any valid, enforceable and
               perfect liens.

      (viii) Local R. 4001-2(a)(i)(H)—Section 552(b)(1). Upon entry of the Final DIP
             Order, provides the DIP Lenders and Prepetition Secured Parties all of the rights
             and benefits of section 552(b)(1) of the Bankruptcy Code and the “equities of the
             case” exception therein shall not apply. See Interim DIP Order ¶ 47.

      22.      For the reasons discussed below, the Debtors believe these provisions are

reasonable in light of the facts and circumstances of these Chapter 11 Cases and should be

approved.

                                        Relief Requested

      23.      The Debtors seek entry of the Interim DIP Order and, pending the Final Hearing,

the Final DIP Order, in each case: (a) authorizing the Debtors to obtain the DIP Facility

(including the fees payable to the DIP Agent in connection therewith); (b) authorizing the


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Debtors to enter into the DIP Loan Documents; (c) authorizing the Debtors to use the DIP

Facility, the proceeds thereof, and the Prepetition Collateral, including Cash Collateral; (d)

granting Adequate Protection; (e) granting the DIP Liens and Superpriority Claims; (f)

scheduling a Final Hearing to consider entry of the Final DIP Order and a deadline to file any

objection to the Final DIP Order, and approving the form of notice with respect to the Final

Hearing; and (g) granting related relief.

                                            Basis for Relief

        A.      The Debtors’ Decision to Obtain the DIP Facility Should Be Approved as an
                Exercise of the Debtors’ Sound Business Judgment.

        24.     Courts grant debtors in possession considerable deference in acting in accordance

with their business judgment in obtaining post-petition secured credit, as long as the agreement

to obtain such credit does not run afoul of the provisions of, and policies underlying, the

Bankruptcy Code. See, e.g., In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del.

1994) (approving post-petition loan and receivables facility because such facility “reflect[ed]

sound and prudent business judgment”); In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D.

Del. 2011) (“[C]ourts will almost always defer to the business judgment of a debtor in the

selection of the lender.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990)

(“[C]ases consistently reflect that the court’s discretion under section 364 is to be utilized on

grounds that permit reasonable business judgment to be exercised so long as the financing

agreement does not contain terms that leverage the bankruptcy process and powers or its purpose

is not so much to benefit the estate as it is to benefit a party-in-interest.”).

        25.     To determine whether the business judgment standard is met, a court need only

“examine whether a reasonable business person would make a similar decision under similar

circumstances.” In re Exide Tech., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In re



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Curlew Valley Assocs., 14 B.R. 506, 513-14 (Bankr. D. Utah 1981) (noting that courts should not

second guess a Debtors’ business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the Debtors’] authority

under the [Bankruptcy] Code”).

       26.     Furthermore, in considering whether the terms of post-petition financing are fair

and reasonable, courts consider the terms in light of the relative circumstances of both the debtor

and the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo.

2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co.

(In re Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 (W.D. Mich. 1986) (recognizing a

debtor may have to enter into “hard bargains” to acquire funds for its reorganization). The Court

may also appropriately take into consideration non-economic benefits to the Debtors offered by a

proposed post-petition facility. For example, in In re ION Media Networks. Inc., the Bankruptcy

Court for the Southern District of New York held that:

               Although all parties, including the Debtors and the Committee, are
               naturally motivated to obtain financing on the best possible terms,
               a business decision to obtain credit from a particular lender is
               almost never based purely on economic terms. Relevant features
               of the financing must be evaluated, including non-economic
               elements such as the timing and certainty of closing, the impact on
               creditor constituencies and the likelihood of a successful
               reorganization. This is particularly true in a bankruptcy setting
               where cooperation and establishing alliances with creditor groups
               can be a vital part of building support for a restructuring that
               ultimately may lead to a confirmable reorganization plan. That
               which helps to foster consensus may be preferable to a notionally
               better transaction that carries the risk of promoting unwanted
               conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

       27.     Here, the DIP Facility is clearly within the Debtors’ reasonable business

judgment. The DIP Facility provides for reasonable economics, milestones and other case



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management features, and its other terms are fair and reasonable. The DIP Facility is the product

of arm’s length, good faith negotiations between the Debtors, the DIP Agent, and the Prepetition

Secured Parties. The Debtors have reason to believe that the proceeds of the DIP Facility and

their use in accordance with the Budget will be adequate to pay all administrative expenses due

and payable during the postpetition periods. The Debtors also believe, for the reasons that

follow, that the DIP Facility meets the requirements for approval of post-petition financing on a

secured priming and superpriority basis. Accordingly, entry into the DIP Facility is a sound

exercise of the Debtors’ business, and should be approved.

       B.      The DIP Facility Meets the Requirements to Authorize Post-Petition
               Financing on a Secured and Superpriority Basis under Section 364(c).

       28.     The statutory requirement for obtaining post-petition credit under section 364(c)

is a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re

Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c)

of the Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured

credit cannot be obtained). To meet this requirement, a debtor need only demonstrate “by a good

faith effort that credit was not available without” the protections afforded to potential lenders by

sections 364(c) of the Bankruptcy Code. See In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir.

1986) (“[t]he statute imposes no duty to seek credit from every possible lender before concluding

that such credit is unavailable”).

       29.     Financing in an amount necessary to fund these Chapter 11 Cases is not

obtainable on an unsecured, pari passu or junior secured basis. No potential third-party source

of financing for the Debtors, available on an expedited basis and on reasonable terms, would

agree to provide unsecured or junior secured financing in such amount in light of the secured



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position of the Prepetition Secured Parties. Moreover, any such potential source of financing, on

secured terms, would require liens that prime those of the Prepetition Secured Parties. The

Prepetition Secured Parties have stated they do not consent to priming and would object to any

such request. A contested priming or adequate protection fight would like prove devastating to

the Debtors’ business and to the contemplated Section 363 Sale, subjecting the Debtors to a

significant risk of being unfinanced or underfinanced for an extended period of time, especially

in light of the Debtors’ liquidity position as of the Petition Date.

       30.     Courts have articulated a test to determine whether a debtor is entitled to

financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to whether:

       a.      the credit transaction is necessary to preserve the assets of the estate; and

       b.      the terms of the transaction are fair, reasonable, and adequate, given the
               circumstances of the debtor-borrower and proposed lenders.

In re Ames Dep’t Stores, 115 B.R. at 37-39 (Bankr. S.D.N.Y. 1990); see also In re St. Mary

Hosp., 86 B.R. 393, 401-02 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       31.     The DIP Facility is necessary to preserve the Debtors’ estates and their assets.

The Debtors have an immediate need for liquidity. Before the Petition Date, the Debtors relied

on protective overadvances from the Prepetition Lenders, and, after the Petition Date, the

Debtors require the DIP Facility to continue providing funding for operations, working capital

needs and to fund the Section 363 Sale. The DIP Facility is also essential to provide the

Debtors’ employees, vendors and service providers, and other stakeholders the confidence in the

Debtors’ ability to continue operating while it pursues a Section 363 Sale. Moreover, absent

approval of the DIP Facility, the Debtors will almost certainly experience business disruptions,

and the ability of the Debtors to conduct an orderly sale that maximizes the value of their estates

would be irreparably harmed.



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       32.      The terms of the DIP Facility are fair, reasonable and adequate, in light of the

circumstances of the Debtors and the DIP Lenders, who are affiliates of the Prepetition Secured

Parties who provided the Debtors with their pre-petition financing. The DIP Facility is the only

viable source of financing for these cases. Accordingly, the Debtors negotiated, at arm’s length

and in good faith, the best terms and conditions for DIP financing they could obtain from DIP

Lenders. The DIP Facility so obtained is sized to meet the reasonably anticipated operational

costs and administrative expenses during the expected pendency of these Chapter 11 Cases as

reflected in the Budget. The economics, of the DIP Facility, including the interest rate and fees,

reflect a fair, market exchange for the financing made available to the Debtors. Similarly, the

terms and conditions of the DIP Facility, including the case milestones, consensual priming DIP

Liens, and certain other stipulations, waivers and case management features, are reasonable in

light of the Debtors’ and the objectives of these Chapter 11 Cases. These economics, and terms

and conditions, are also within the range of typical DIP facilities in the marketplace for chapter

11 debtors in similar business, and with similar size and finances, of the Debtors.

       C.       The DIP Facility Meets the Requirements to Authorize Post-Petition
                Financing on a Priming Basis under Section 364(d)(1).

       33.      In addition to authorizing financing under section 364(c) of the Bankruptcy Code,

courts also may authorize a debtor to obtain postpetition credit secured by a lien that is senior or

equal in priority to existing liens on the encumbered property, without the consent of the existing

lien holders, if the debtor cannot otherwise obtain such credit and the interests of existing lien

holders are adequately protected. See 11 U.S.C. § 364(d)(1). Specifically, section 364(d)(1) of

the Bankruptcy Code provides, in relevant part, that a court may, after notice and a hearing:

       [A]uthorize the obtaining of credit or the incurring of debt secured by a senior or
       equal lien on property of the estate that is subject to a lien only if --

             (A) the [debtor] is unable to obtain such credit otherwise; and


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          (B) there is adequate protection of the interest holder of the lien on the
       property of the estate on which such senior or equal lien is proposed to be granted.

11 U.S.C. § 364(d)(1).

       34.     Here, the DIP Liens prime the liens of the Prepetition Secured Parties. However,

because the Prepetition Agent and the Prepetition Lenders, who are affiliates of the DIP Agent

and DIP Lenders, have consented to this treatment, subject to approval of the adequate protection

provisions described in the DIP Loan Documents, and because the DIP Agent and DIP Lenders

have conditioned their willingness to provide the DIP Facility upon granting of the DIP Liens,

the priming of the Prepetition Liens may be authorized under section 364(d)(1).

       D.      The Debtors’ Request to Use Cash Collateral and the Proposed Adequate
               Protection is Appropriate.

       35.     The Debtors’ use of property of their estates, including Cash Collateral, is

governed by section 363 of the Bankruptcy Code. Pursuant to section 363(c)(2) of the

Bankruptcy Code, a debtor may use cash collateral as long as “(A) each entity that has an interest

in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes such use,

sale, or lease in accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2).

       36.     Section 363(e) of the Bankruptcy Code provides for adequate protection of

interests in property when a debtor uses cash collateral. Further, section 362(d)(1) of the

Bankruptcy Code provides for adequate protection of interests in property due to the imposition

of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996). While section

361 of the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir.

1994); In re Satcon Tech. Corp., No. 12-12869, 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7,

2012); In re N.J. Affordable Homes Corp., No. 05-60442, 2006 WL 2128624, at *14 (Bankr.


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D.N.J. June 29, 2006); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at

*2 (Bankr. D. Del. Feb. 18, 1992); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr.

D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01 [1] at 361-66 (15th ed. 1993) (explaining

that adequate protection can take many forms and “must be determined based upon equitable

considerations arising from the particular facts of each proceeding”).

       37.     The concept of adequate protection is designed to shield a secured creditor from

diminution in the value of its interest in collateral during the period of a debtor’s use. See In re

Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured

party’s interest is protected from diminution or decrease as a result of the proposed use of cash

collateral.”); see also In re Cont’l Airlines, Inc., 154 B.R. 176, 180—81 (Bankr. D. Del. 1993)

(holding that adequate protection for use of collateral under section 363 of the Bankruptcy Code

is limited to use-based decline in value).

       38.     As set forth in the Interim DIP Order and other DIP Loan Documents, the Debtors

propose to provide the Prepetition Secured Parties with Adequate Protection, including the

Adequate Protection Liens, the Adequate Protection Super-priority Claims, and current cash

payments to the Prepetition Secure Parties payable under the Prepetition Loan Documents for all

professional fees and expenses in connection with the enforcement of the Prepetition Loan

Documents and the Chapter 11 Cases. Subject to the terms and conditions of the Interim DIP

Order, the Prepetition Secured Parties have consented to the Debtors' use of Cash Collateral in

exchange for the Adequate Protection.

       39.     In addition to the Adequate Protection, the use of Cash Collateral in accordance

with the terms of the Budget preserves and maximizes the value of the Prepetition Collateral.

See In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (evaluating




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“whether the value of the debtor’s property will increase as a result of the” use of collateral in

determining sufficiency of adequate protection); In re Salem Plaza Assocs., 135 B.R. 753, 758

(Bankr. S.D.N.Y. 1992) (holding that debtor’s use of cash collateral to pay operating expenses,

thereby “preserv[ing] the base that generates the income stream,” provided adequate protection

to the secured creditor). Under the Budget, Cash Collateral will be used to pay operating

expenses, and payroll for the Debtors’ employees. In addition, the Budget provides for the

expenses of administration of these Chapter 11 Cases, including to fund the Section 363 Sale.

Payment of these and other expenses in accordance with the terms of the Budget is necessary to

maintain the Debtors’ enterprise as a going concern and thereby to maximizing the value of the

Debtors’ estates.

        40.     In light of the foregoing, the Debtors submit that the proposed Adequate

Protection to be provided for the benefit of the Prepetition Secured Parties is appropriate. Thus,

the Debtors’ proposed Adequate Protection is not only necessary to protect the Prepetition

Secured Parties against any diminution in value, but is also fair and appropriate on an interim

basis (and final basis, upon entry of the Final DIP Order) under the circumstances of these

Chapter 11 Cases to ensure the Debtors are able to continue using the Cash Collateral in the near

term, for the benefit of all parties in interest and their estates.

        E.      The DIP Lenders Should Be Deemed Good-Faith Lenders under Section
                364(e).

        41.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

                The reversal or modification on appeal of an authorization under
                this section [364 of the Bankruptcy Code] to obtain credit or incur


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               debt, or of a grant under this section of a priority or a lien, does not
               affect the validity of any debt so incurred, or any priority or lien so
               granted, to an entity that extended such credit in good faith,
               whether or not such entity knew of the pendency of the appeal,
               unless such authorization and the incurring of such debt, or the
               granting of such priority or lien, were stayed pending appeal.

       42.     As set forth above, the DIP Facility is the result of the sound exercise of the

Debtors’ business judgment, and the product of arm’s length, good-faith negotiations between

the Debtors, the DIP Agent, DIP Lenders, and the Prepetition Secured Parties. In addition, the

terms and conditions of the DIP Facility are reasonable and appropriate under the circumstances,

and the proceeds of the DIP Facility will be used only for purposes that are permissible under the

Bankruptcy Code and are adequate to meet the Debtors’ post-petition financing needs.

Accordingly, the Court should find that the DIP Agent and DIP Lenders are “good faith” entities

within the meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the

protections afforded by that section.

       F.      The DIP Lenders and Prepetition Lenders Should be Granted a Bankruptcy
               Code Section 506(c) Waiver and Waiver of the Equities of the Case
               Exception under Bankruptcy Code Section 552.

       43.     The DIP Loan Documents provide for a waiver of the any rights to charge costs

and expenses against the Prepetition Collateral or the DIP Collateral, upon entry of the Final DIP

Order. The Debtors request that the Court approve the waiver. Such waivers and provisions are

standard under financings between sophisticated parties, and is a condition to the DIP Agent and

DIP Lenders providing the DIP Facility to the Debtors. As one court noted, “the Trustee and

Debtors-in-Possession in this case had significant interests in asserting claims under § 506(c) and

have made use of their rights against the Lender under § 506(c) by waiving them in exchange for

concessions to the estates (including a substantial carve-out for the benefit of administrative

creditors).” In re Molten Metal Technology, Inc., 244 B.R. 515, 527 (Bankr. D. Mass. 2000). See



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also In re Nutri/System of Florida Assocs., 178 B.R. 645, 650 (E.D. Pa. 1995) (noting that debtor

had waived § 506(c) rights in obtaining debtor in possession financing); In re Telesphere

Communications, Inc., 179 B.R. 544, 549 (Bank. N.D. Ill. 1994) (approving settlement between

debtor and certain lenders wherein debtor waived certain rights (including 506(c) rights) against

the lenders in exchange for valuable consideration).

        44.     The waiver of surcharge rights is appropriate where, as here, the Prepetition

Secured Parties, the DIP Agent and the DIP Lenders have agreed to the use of Cash Collateral

and the proceeds of the DIP Loan, in accordance with the Budget, and have consented to the

Carve-Out. Similarly, the waiver of the equities of the case exception under section 552(b) of

the Bankruptcy Code is appropriate under the circumstances here. The equities of the case

exception under section 552(b) of the Bankruptcy Code is, by definition, inapplicable to

postpetition liens.

        G.      The Automatic Stay Should Be Modified on a Limited Basis.

        45.     The Debtors request that automatic stay imposed by section 362 be modified to

the extent necessary to implement and effectuate the terms and provisions of the DIP Loan

Documents, the Interim DIP Order and the Final DIP Order, as applicable. Such and similar stay

modifications are common-place and standard features of debtor-in-possession financing

arrangements, and are reasonable and fair under the circumstances of these Chapter 11 Cases.

See, e.g., In re Peak Broad., LLC, No. 12-10183 (PJW) (Bankr. D. Del. Feb. 2, 2012)

(terminating automatic stay after occurrence of termination event); In re TMP Directional Mktg,

LLC, No. 11-13835 (MFW) (Bankr. D. Del. Jan. 17, 2012) (modifying automatic stay as

necessary to effectuate the terms of the order); In re Broadway 401 LLC, No. 10-10070 (KJC)

(Bankr. D. Del. Feb. 16, 2010) (same); In re Haights Cross Commc’ns, Inc., No. 10-10062

(BLS) (Bankr. D. Del, Feb. 8, 2010) (same).


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       H.      Failure to Obtain Immediate Interim Access to the DIP Facility and Cash
               Collateral Would Cause Immediate and Irreparable Harm.

       46.     Bankruptcy Rules 4001(b) and (c) provides that a final hearing on motion to use

cash collateral pursuant to section 363 and to obtain credit pursuant to section 364 of the

Bankruptcy Code may not be commenced earlier than 14 days after the service of such motion.

Upon request, however, the Court is empowered to conduct a preliminary expedited hearing on

such motions and authorize the obtaining of credit and use of cash collateral to the extent

necessary to avoid immediate and irreparable harm to a Debtors’ estates.

       47.     The Debtors also have an immediate need to receive advances contemplated by

the DIP Facility to provide sufficient liquidity to maintain operations during the period between

the Petition Date and the Final Hearing in order to continue to operate and pay administrative

expenses. Entry of the proposed Interim DIP Order will enable the Debtors to preserve and

maximize value and, therefore, avoid immediate and irreparable harm and prejudice to the

estates and all parties in interest, pending the Final Hearing.

                                    Request for Final Hearing

       48.     Pursuant to Bankruptcy Rule 4001(c)(2), the Debtors request that the Court

schedule, by not later than June 8, 2018, a date for the Final Hearing that is as soon as

practicable, as required by the DIP Loan Agreement, and fixes the time and date prior to the

Final Hearing for parties to file objections to this Motion.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       49.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).



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                                      Consent to Jurisdiction

          50.    Pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the entry of

a final judgment or order with respect to this Motion if it is determined that the Court would lack

Article III jurisdiction to enter such final order or judgment absent consent of the parties.

                                                Notice

          51.    Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel, if known: (a) the Office of the United States Trustee for the District of Delaware;

(b) MidCap Financial Trust as (i) Prepetition Agent under the Prepetition Loan Agreement and

(ii) DIP Agent; (c) the DIP Lenders; (d) creditors holding the twenty (20) largest unsecured

claims as set forth in the consolidated list filed with the Debtors’ petitions; (e) the Office of the

United States Attorney for the District of Delaware; (f) the Internal Revenue Service; and (g) any

other party entitled to notice pursuant to Local Rule 9013-1(m)(iii). As the Motion is seeking

“first day” relief, within two business days of the hearing on the Motion, the Debtors will serve

copies of the Motion and any order entered with respect to the Motion in accordance with Local

Rule 9013-1(m)(iv). The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.

                                          No Prior Request

          52.    No prior Motion for the relief requested herein has been made to this or any other

court.

                                             Conclusion

          WHEREFORE, the Debtors respectfully request that this Court enter an order granting

the relief requested herein and granting the Debtors such other and further relief as is just and

proper.




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Dated: June 5, 2018                 GREENBERG TRAURIG, LLP

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